               Case 1:23-cv-01057-RTH Document 10 Filed 08/30/23 Page 1 of 21




                    IN THE UNITED STATES COURT OF FEDERAL CLAIMS


         MARSHALL T. AND TAMI                         )   CIVIL ACTION No.
         SAVAGE,                                      )
                                                      )
         Plaintiffs,                                  )
                                                      )
         Vv.

         UNITED STATES OF AMERICA, _ )
                                     )
                                     )
——E=—




         Defendant.



                                             COMPLAINT


               1.      | Marshall T. Savage and his spouse, Tami Savage, (“Plaintiffs”), who

        are U.S. citizens, are the taxpayers in this case.       Plaintiffs reside at 11662 N.

        Avondale Loop, Hayden, Idaho 83835;         the last four digits of their Social Security

        numbers are 4596 and 5473, respectively.

               2.       Defendant is the United States of America (“Defendant”).

                                               Jurisdiction

               3.       This is an action for the refund of U.S. federal income tax and interest

        erroneously or illegally assessed and collected, and this Court has jurisdiction by

        reason of 28 U.S.C. §1346(a)(1).
                          Case 1:23-cv-01057-RTH Document 10 Filed 08/30/23 Page 2 of 21




                                                   Factual Allegations


                          A,    Plaintiffs filed Forms   1040X, Amended U.S. Individual Income Tax

                    Returns jointly for tax years 2008, 2009, 2010, 2011, 2012, and 2013 with the

                    Internal Revenue Service (“IRS”) Service Center located in Ogden, Utah on April

                    19, 2021.

                           5.   Plaintiffs seek a refund of:   (a) $181,518 of U.S. federal income tax

                    paid for the taxable year ending December 31, 2008; (b) $103,137 of U.S. federal

                    income tax paid for the taxable year ending December 31, 2009; (c) $138,968 of
TN See 2 « SCIONS




                    U.S. federal income tax paid for the taxable year ending December 31, 2010; (d)

                    $200,346 of U.S. federal income tax paid for the taxable year ending December 31,

                    2011; (e) $102,521 of U.S. federal income tax paid for the taxable year ending

                    December 31, 2012; and (f) $29,389 of U.S. federal income tax paid for the taxable

                    year ending December 31, 2013, together with interest as allowed by law.

                    IRS Determination for the 2014 Tax Year

                          6.    On or before March 30, 2018, Plaintiffs filed a Form 1040X, Amended

                    Individual Income Tax Return, for tax year 2014 (the “2014 Amended Return’)

                    with the IRS Service Center located in Fresno, California to amend and correct the

                    reporting of their investment in Savage Resources, LLC as subject to the at-risk

                    limitations of Section 465 of the Internal Revenue Code (the “Code”) and the

                    limitations on percentage depletion set forth in Sections 613 and 613A of the Code.
                  Case 1:23-cv-01057-RTH Document 10 Filed 08/30/23 Page 3 of 21




            A copy of the 2014 Amended Return is attached hereto, marked as Exhibit A, and

            made a part hereof.

                  7.      Nearly   a year later, on February    26, 2019, the IRS       sent Plaintiffs a

            Notice of Audit, Letter 2205 (Rev. 1-2017), for the tax periods ending December 31,

            2014, 2015 and 2016.

                  8.      More than one year later, on March 3, 2020, the IRS sent Plaintiffs

            Letter 570 (Rev. 2-2017), (“Letter 570’), informing Plaintiffs that the claim for
—————————




            refund for the tax period ended December 31, 2014 had been accepted.              A copy of

            this Letter 570 is attached hereto, marked as Exhibit B, and made a part hereof.

                  9.     | However, it was not until more than another year after sending the

            Letter 570 that the IRS finalized and closed the acceptance of the 2014 Amended

            Return by sending Plaintiffs a Notice CP21E.           In early June of 2021, Plaintiffs

            received Notice CP21E dated May 31, 2021, informing them that the IRS was

            accepting the 2014 Amended Return as filed and reducing Plaintiffs’ 2014 tax

            liability by $184,232. A copy of Notice CP21E is attached hereto, marked as Exhibit

            C, and made a part hereof.

            Returns Impacted by the 2014 Determination

                   10.    On   April   19, 2021,   based   on   informal     IRS    communications   that

            Plaintiffs had correctly reported the at-risk and percentage depletion limitations on

            the 2014     Amended   Return,   Plaintiffs filed Forms        1040X,   amended   Individual
      Case 1:23-cv-01057-RTH Document 10 Filed 08/30/23 Page 4 of 21




Income Tax Returns, for each of the 2006, 2007, 2008, 2009, 2010, 2011, 2012, and

2013 tax years (together, the “Amended Returns”) with the IRS Service Center in

Ogden, Utah.     Consistent with the 2014 Amended Return, each of the Amended

Returns included recalculations of at-risk limitations, at-risk suspended losses, net

operating loss deductions, and suspended percentage depletion carryovers, as well

as corollary adjustments.    Specifically:

          a. The 2006 Amended Return increased Plaintiffs’ U.S. federal income

               tax liability by $24,314.     The IRS has accepted this return but has

               agreed to hold collection procedures pending global resolution of the

               Amended Returns.

          b. The 2007 Amended Return increased Plaintiffs’ U.S. federal income

               tax liability by $212,487.     The IRS has accepted this return but has

               agreed to hold collection procedures pending global resolution of the

               Amended Returns.

          c. The 2008 Amended Return decreased Plaintiffs’ U.S. federal income

               tax liability by $181,518.    A copy of the claim for refund for tax year

               2008 is attached hereto, marked as Exhibit D, and made a part hereof.

               On July 30, 2021, the IRS issued Letter 105C, Disallowance of Claim,

               for the 2008 Amended Return (the “2008 Disallowance”).         A copy of
Case 1:23-cv-01057-RTH Document 10 Filed 08/30/23 Page 5 of 21




        the 2008 Disallowance is attached hereto, marked as Exhibit E, and

        made a part hereof.

       . The 2009 Amended Return decreased Plaintiffs’ U.S. federal income

        tax liability by $103,137.   As of the date hereof, which is more than six

        (6) months from the date on which the claim for refund was filed, this

        2009 Amended Return has not been accepted or rejected by the IRS. A

        copy of the claim for refund for tax year 2009 is attached hereto,

        marked as Exhibit F, and made a part hereof.

       . The 2010 Amended Return decreased Plaintiffs’ U.S. federal income

        tax liability by $138,968. As of the date hereof, which is more than six

        (6) months from the date on which the claim for refund was filed, this

        2010 Amended Return has not been accepted or rejected by the IRS. A

        copy of the claim for refund for tax year 2010 is attached hereto,

        marked as Exhibit G, and made a part hereof.

   .    The 2011   Amended    Return decreased Plaintiffs’ U.S. federal income

        tax liability by $200,346. As of the date hereof, which is more than six

        (6) months from the date on which the claim for refund was filed, this

        2011 Amended Return has not been accepted or rejected by the IRS. A

        copy of the claim for refund for tax year 2011        is attached hereto,

        marked as Exhibit H, and made a part hereof.
     Case 1:23-cv-01057-RTH Document 10 Filed 08/30/23 Page 6 of 21




            g. The 2012 Amended Return decreased Plaintiffs’ U.S. federal income

              tax liability by $102,521.   A copy of the claim for refund for tax year

              2012 is attached hereto, marked as Exhibit I, and made a part hereof.

              The IRS issued Letter 105C, Disallowance of Claim, on July 13, 2021

               for the 2012 Amended Return (the “2012 Disallowance”).       A copy of

              the 2012 Disallowance is attached hereto, marked as Exhibit J, and

               made a part hereof.

            h. The 2013 Amended Return decreased Plaintiffs’ U.S. federal income

              tax liability by $29,389.    A copy of the claim for refund for tax year

              2013 is attached hereto, marked as Exhibit K, and made a part hereof.

              The IRS issued Letter 105C, Disallowance of Claim, on July 15, 2021

               for the 2013 Amended Return (the “2013 Disallowance”).       A copy of

              the 2013 Disallowance is attached hereto, marked as Exhibit L, and

              made a part hereof.

                          COUNT | - Plaintiffs’ 2008 Claim

      11.     Plaintiffs filed their original Form 1040 for the taxable year ending

December 31, 2008 on or before November           16, 2009, reporting total income tax

liability (including alternative minimum tax) of $245,633 which Plaintiffs paid in

full (the “Original 2008 Return’).
                Case 1:23-cv-01057-RTH Document 10 Filed 08/30/23 Page 7 of 21




                12.    The 2014 Amended Return, to which the IRS agreed, included inter

      alia,     a recalculation   of net   operating   loss   deductions   and   at-risk   carryovers

      disallowing deductions which should have been allowed to Plaintiffs on the Original

      2008 Return.       Plaintiffs filed the 2008 Amended Return to correct this double

      disallowance of deductions (the “2008 Claim”).

                13.   The positions taken by the IRS with respect to the 2014 Amended

      Return are inconsistent with the erroneous disallowance of deductions as reported
=




      on the Original 2008 Return.
EEE




                14.   Plaintiffs filed a Formal Protest to Disallowance of Claim for the 2008

      Amended Return (the “2008 Protest’) with the IRS on August 12, 2021.

                15.   Plaintiffs submitted the 2008 Protest to appeal the IRS’ initial denial of

      the 2008 Claim.

                16.   Plaintiffs’ 2008 Protest was erroneously denied by the IRS via Letter

      2681 (Rev. 10-2021) dated March 2, 2023 (the “2008 Protest Denial’).                 A copy of

      the 2008 Protest Denial is attached hereto, marked as Exhibit M, and made a part

      hereof.

                17.   The 2008 Disallowance denied the claim for refund made pursuant to

      the 2008 Amended Return as untimely, and indicated that October 15, 2012 was the

      last date Plaintiffs could have filed a refund claim for the 2008 tax year.
      Case 1:23-cv-01057-RTH Document 10 Filed 08/30/23 Page 8 of 21




       18.   Sections   1311 through   1314 of the Code and Treasury Regulations

promulgated thereunder should be applied to mitigate the statute of limitations

applicable to the 2008 Amended Return. The 2008 Disallowance failed to consider

these sections of the Code.

       19.   The jurisdictional prerequisites for this 2008 Claim pursuant to Code

Sections 6532 and 7422 have been satisfied.

                        COUNT IL - Plaintiffs’ 2009 Claim

      20.    Plaintiffs filed their original Form 1040 for the taxable year ending

December 31, 2009 on or before November        15, 2010, reporting total income tax

liability (including alternative minimum tax) of $138,662 which Plaintiffs paid in

full (the “Original 2009 Return”).

      21.    The 2014 Amended Return, to which the IRS agreed, included inter

alia, a recalculation   of net operating   loss deductions   and   at-risk carryovers

disallowing deductions which should have been allowed to Plaintiffs on the Original

2009 Return. Plaintiffs filed the 2009 Amended Return on or before April 19, 2021

to correct this double disallowance of deductions (the “2009 Claim”).

      22.    The positions taken by the IRS with respect to the 2014 Amended

Return are inconsistent with the erroneous disallowance of deductions as reported

on the Original 2009 Return.
      Case 1:23-cv-01057-RTH Document 10 Filed 08/30/23 Page 9 of 21




      23.     Pursuant to Section 6532(a)(1) of the Code and Treasury Regulations

promulgated thereunder, Plaintiffs are eligible to file suit for the recovery of U.S.

federal income tax under Section 7422 of the Code as more than six months have

passed from the date of the filing of the 2009 Claim and no decision has been made

by the IRS with respect to such claim.

      24.     As of the date hereof, the IRS has not accepted or rejected Plaintiffs’

2009 Claim.

      25.     Plaintiffs filed the 2009 Claim on or before April 19, 2021, more than

six months prior to the date hereof.

      26.     The jurisdictional prerequisites for this 2009 Claim pursuant to Code

Sections 6532 and 7422 have been satisfied.

                        COUNT III - Plaintiffs’ 2010 Claim

      27.     Plaintiffs filed their original Form   1040 for the taxable year ending

December 31, 2010 on or before November 21, 2011, reporting total income tax

liability (including alternative minimum tax) of $250,544 which Plaintiffs paid in

full (the “Original 2010 Return”).

      28.     The 2014 Amended Return, to which the IRS agreed, included inter

alia, a recalculation   of net operating    loss deductions    and at-risk carryovers

disallowing deductions which should have been allowed to Plaintiffs on the Original
     Case 1:23-cv-01057-RTH Document 10 Filed 08/30/23 Page 10 of 21




2010 Return.    Plaintiffs filed the 2010 Amended Return on or before April 19, 2021

to correct this double disallowance of deductions (the “2010 Claim”).

      29.      The positions taken by the IRS with respect to the 2014 Amended

Return are inconsistent with the erroneous disallowance of deductions as reported

on the Original 2010 Return.

      30.      On September 8, 2021, the IRS issued Letter 105C, Disallowance of

Claim, for the 2010 Amended Return (the “2010 Disallowance”).             A copy of the

2010 Disallowance is attached hereto, marked as Exhibit N, and made a part hereof.

      31.      Plaintiffs filed a Formal Protest to Disallowance of Claim for the 2010

Amended Return (the “2010 Protest”) with the IRS on September 21, 2021.

      32.      Plaintiffs submitted the 2010 Protest to appeal the IRS’ initial denial of

the 2010 Claim.

      33.      By letter dated April 1, 2022, (“Letter 916C”), the IRS informed

Plaintiffs that the 2010 Protest was missing information and could not be processed.

      34.      On May    17, 2022, Plaintiffs sent the IRS a revised draft of the 2010

Protest, (the “Revised 2010 Protest”), that provided the missing information as

requested by the IRS in Letter 916C.

      35.      After months of no communication from the IRS, in February 2023,

Plaintiffs followed-up with correspondence to:       (1) inquire about the status of the




                                            10
        Case 1:23-cv-01057-RTH Document 10 Filed 08/30/23 Page 11 of 21




2010 Claim, and (ii) confirm that, on May 23, 2022, the IRS received the requested

supplemental information to the 2010 Protest.

         36.   As of the date hereof, the IRS has not responded to Plaintiffs’ Revised

2010 Protest nor accepted or denied the 2010 Claim.

         37.   Pursuant to Section 6532(a)(1) of the Code and Treasury Regulations

promulgated thereunder, Plaintiffs are eligible to file suit for the recovery of U.S.

federal income tax under Section 7422 of the Code as more than six months have

passed from the date of the filing of the 2010 Claim and no decision has been made

by the IRS with respect to such claim.

         38.   Plaintiffs filed the 2010 Claim on or before April 19, 2021, more than

six months prior to the date hereof.

         39.   The jurisdictional prerequisites for this 2010 Claim pursuant to Code

Sections 6532 and 7422 have been satisfied.

                          COUNT IV - Plaintiffs’ 2011 Claim

         40.   Plaintiffs filed their original Form 1040 for the taxable year ending

December 31, 2011 on or before November                12, 2012, reporting total income tax

liability (including alternative minimum tax) of $213,442 which Plaintiffs paid in

full (the “Original 2011 Return”).

        41.    The 2014 Amended Return, to which the IRS agreed, included inter

alia,   a recalculation   of net   operating    loss    deductions   and   at-risk   carryovers


                                               11
            Case 1:23-cv-01057-RTH Document 10 Filed 08/30/23 Page 12 of 21




       disallowing deductions which should have been allowed to Plaintiffs on the Original

       2011 Return. Plaintiffs filed the 2011 Amended Return on or before April 19, 2021

       to correct this double disallowance of deductions (the “2011 Claim”).

             42.     The positions taken by the IRS with respect to the 2014 Amended

       Return are inconsistent with the erroneous disallowance of deductions as reported

       on the Original 2011 Return.

             43.     Pursuant to Section 6532(a){1) of the Code and Treasury Regulations

       promulgated thereunder, Plaintiffs are eligible to file suit for the recovery of U.S.
——E—




       federal income tax under Section 7422 of the Code as more than six months have

       passed from the date of the filing of the 2011 Claim and no decision has been made

       by the IRS with respect to such claim.

             44.     As of the date hereof, the IRS has not accepted or rejected Plaintiffs’

       2011 Claim.

             45.     Plaintiffs filed the 2011 Claim on or before April 19, 2021, more than

       six months prior to the date hereof.

             46.     The jurisdictional prerequisites for this 2011 Claim pursuant to Code

       Sections 6532 and 7422 have been satisfied.

                               COUNT V        - Plaintiffs’ 2012 Claim

             47,     Plaintiffs filed their original Form 1040 for the taxable year ending

       December 31, 2012 on or before November           18, 2013, reporting total income tax


                                                   12
               Case 1:23-cv-01057-RTH Document 10 Filed 08/30/23 Page 13 of 21




       liability (including alternative minimum tax) of $101,260 which Plaintiffs paid in

       full (the “Original 2012 Return”).

                 48.   The 2014 Amended Return, to which the IRS agreed, included inter

       alia,   a recalculation   of net   operating    loss   deductions   and   at-risk   carryovers

       disallowing deductions which should have been allowed to Plaintiffs on the Original

       2012 Return.       Plaintiffs filed the 2012 Amended Return to correct this double

       disallowance of deductions (the “2012 Claim”).

                 49.   The positions taken by the IRS with respect to the 2014 Amended
ee
SESE




       Return are inconsistent with the erroneous disallowance of deductions as reported

       on the Original 2012 Return.

                 50.   Plaintiffs filed a Formal Protest to Disallowance of Claim for the 2012

       Amended Return (the “2012 Protest”) with the IRS on July 20, 2021.

                 51.   Plaintiffs submitted the 2012 Protest to appeal the IRS’ initial denial of

       the 2012 Claim.

                 52.   Plaintiffs’ 2012 Protest was erroneously denied by the IRS via Letter

       2681 (Rev. 10-2021) dated March 2, 2023 (the “2012 Protest Denial’). A copy of

       the 2012 Protest Denial is attached hereto, marked as Exhibit M, and made a part

       hereof.




                                                      13
     Case 1:23-cv-01057-RTH Document 10 Filed 08/30/23 Page 14 of 21




       53.   The 2012 Disallowance denied the claim for refund made pursuant to

the 2012 Amended Return as untimely and indicated that February 3, 2021 was the

last date Plaintiffs could have filed a refund claim for the 2012 tax year.

      54.    However,    Plaintiffs only received formal confirmation that the IRS

accepted the changes to the 2014 Amended Return in June of 2021 when they

received notice of the refund in the amount of $185,232 by IRS Notice CP21E.

      55.    Sections   1311 through 1314 of the Code and Treasury Regulations

promulgated thereunder should be applied to mitigate the statute of limitations

applicable to the 2012 Amended Return. The 2012 Disallowance failed to consider

these sections of the Code.

      56.    The jurisdictional prerequisites for this 2012 Claim pursuant to Code

Sections 6532 and 7422 have been satisfied.

                        COUNT     VI - Plaintiffs’ 2013 Claim

      57.    Plaintiffs filed their original Form 1040 for the taxable year ending

December 31, 2013 on or before November            10, 2014, reporting total income tax

liability (including alternative minimum tax) of $29,018 which Plaintiffs paid in full

(the “Original 2013 Return”).

      58.    The 2014 Amended Return, to which the IRS agreed, included, inter

alia, a recalculation   of net operating    loss    deductions   and   at-risk carryovers

disallowing deductions which should have been allowed to Plaintiffs on the Original


                                           14
      Case 1:23-cv-01057-RTH Document 10 Filed 08/30/23 Page 15 of 21




2013 Return.       Plaintiffs filed the 2013 Amended Return to correct this double

disallowance of deductions (the “2013 Claim”).

          59.   The positions taken by the IRS with respect to the 2014 Amended

Return are inconsistent with the erroneous disallowance of deductions as reported

on the Original 2013 Return.

          60.   Plaintiffs filed a Formal Protest to Disallowance of Claim for the 2013

Amended Return (the “2013 Protest”) with the IRS on August 12, 2021.

          61.   Plaintiffs submitted the 2013 Protest to appeal the IRS’ initial denial of

the 2013 Claim.

          62.   Plaintiffs’ 2013 Protest was erroneously denied by the IRS via Letter

2681 (Rev. 10-2021) dated March 2, 2023 (the “2013 Protest Denial’). A copy of

the 2013 Protest Denial is attached hereto, marked as Exhibit O, and made a part

hereof.

          63.   The 2013 Disallowance denied the claim for refund made pursuant to

the 2013 Amended Return as untimely and noted that the claim was not filed within

three years from the date of the Original 2013 Return. Unlike in the 2008 and 2012

Disallowances, the IRS did not provide a specific date by which the Plaintiffs must

have filed the 2013 Disallowance.

          64.   Sections 1311 through 1314 of the Code and Treasury Regulations

promulgated thereunder should be applied to mitigate the statute of limitations


                                             15
      Case 1:23-cv-01057-RTH Document 10 Filed 08/30/23 Page 16 of 21




applicable to the 2013 Amended Return. The 2013 Disallowance failed to consider

these Sections of the Code.

          65.      The jurisdictional prerequisites for this 2013 Claim pursuant to Code

Sections 6532 and 7422 have been satisfied.

                                   DEMAND FOR RELIEF
                                          (Refund Suit)

          66.      Plaintiffs incorporate the preceding paragraphs as if set forth fully

herein.

          67.      Plaintiffs seek to bring suit for the refund of the overpayment of U.S.

federal income taxes for the taxable years ending December 31, 2008, December 31,

2009, December 31, 2010, December 31, 2011, December 31, 2012, and December

31, 2013.

          68.      This lawsuit is timely filed:

                a. being within two (2) years from July 30, 2021, the date on the letter

                   denying the claim for refund for the 2008 Amended Return;

                b. being more than six (6) months from April 19, 2021, the date of the

                   filing of the claim for refund for the 2009 Amended Return, with no

                   decision from the IRS for the 2009 Claim;

                c. being more than six (6) months from April 19, 2021, the date of the

                   filing of the claim for refund for the 2010 Amended Return, with no

                   decision from the IRS for the 2010 Claim;

                                                   16
     Case 1:23-cv-01057-RTH Document 10 Filed 08/30/23 Page 17 of 21




             d. being more than six (6) months from April 19, 2021, the date of the

                    filing of the claim for refund for the 2011 Amended Return, with no

                    decision from the IRS for the 2011 Claim;

             e. being within two (2) years from July 13, 2021, the date on the letter

                    denying the claim for refund for the 2012 Amended Return; and

             f.     being within two (2) years from July 15, 2021, the date on the letter

                    denying the claim for refund for the 2013 Amended Return.

       69.          Defendant has refused to refund the overpayment of taxes claimed by

Plaintiffs, and for the reasons set out in the claims for refund for tax years 2008,

2009, 2010, 2011, 2012 and 2013, Plaintiffs are entitled to and hereby demand

judgment          against Defendant for the amounts        of $181,518,     $103,137,   $138,968,

$200,346,         $102,521,   and   $29,389,    respectively,   or   such   other   amount      as    is

appropriate, plus interest and costs thereon as provided by law.

       70.          Plaintiffs are the owners of the claims for refund for tax years 2008,

2009, 2010, 2011 2012, and 2013, and they have not been transferred or assigned.


       WHEREFORE,              Plaintiffs   respectfully   request that the Court       grant        the

following relief:

             1. Determine Sections 1311 through 1314 of the Code apply to mitigate

                    the statutes of limitation applicable to Plaintiffs’ refund claims for tax

                    years 2008, 2012, and 2013, and, if applicable, to Plaintiffs’ refund

                                                  17
          Case 1:23-cv-01057-RTH Document 10 Filed 08/30/23 Page 18 of 21




                claims for tax years 2009, 2010, and 2011.

              . Determine Section 6532(a)(1) of the Code applies to allow Plaintiffs to

                pursue a decision for the claims for refund by virtue of this Complaint

                for refund for tax years 2009, 2010, and 2011.

               . Determine Plaintiffs are entitled to judgment in the amount of   $181,518

                for the 2008 tax year, $103,137 for the 2009 tax year, $138,968 for the

                2010 tax year, $200,346 for the 2011 tax year, $102,521 for the 2012

                tax year, and $29,389 for the 2013 tax year, in each case, plus interest
——_————




                and costs allowed by law, and as such other relief this Court may deem

                just.




                                             18
       Case 1:23-cv-01057-RTH Document 10 Filed 08/30/23 Page 19 of 21




                           IDENTIFICATION STATEMENT

       Pursuant to Rule 9(m)(2)(B), Rules of United States Court of Federal Claims,

Marshall    T.    and   Tami     Savage    (“Plaintiffs”)    make    the   following   statement

confirming:

  i.   Plaintiffs are seeking a refund of U.S federal income tax for the taxable years

        ending    December       31,   2008,   December     31,   2009,    December    31,   2010,

       December 31, 2011, December 31, 2012 and December 31, 2013:

 ii.    Plaintiffs are seeking a refund of U.S federal income tax in the amounts of

        $181,518, $103,137, $138,968, $200,346, $102,521, and $29,389 for tax

       years 2008, 2009, 2010, 2011, 2012, and 2013, respectively, from the claims

        for refund associated with the following Forms 1040X, amended Individual

        Income Tax Returns (together, the “Amended Returns”):

           a. The 2008 Amended            Return decreased Plaintiffs’ tax liability in the

                 amount of $181,518.

           b. The 2009 Amended            Return decreased Plaintiffs’ tax liability in the

                 amount of $103,137.

           c. The 2010 Amended Return decreased Plaintiffs’ tax liability in the

                 amount of $138,968.

           d. The 2011         Amended    Return decreased Plaintiffs’ tax liability in the

                 amount of $200,346.


                                                 19
       Case 1:23-cv-01057-RTH Document 10 Filed 08/30/23 Page 20 of 21




          e. The 2012 Amended        Return decreased Plaintiffs’ tax liability in the

               amount of $102,521.

          f.   The 2013 Amended      Return decreased Plaintiffs’ tax liability in the

               amount of $29,389.

ili.   Plaintiffs filed the Amended Returns on or before April 19, 2021, with the

       IRS Service Center in Ogden, Utah;

iv.    The taxpayer, Marshall T. Savage and his spouse, Tami Savage, currently

       reside at 11662 N. Avondale Loop, Hayden, Idaho 83835. The last four digits

       of their Social Security numbers are 4596 and 5473, respectively;

       The claims for refund for each of the tax years, 2008, 2009, 2010, 2011, 2012

       and 2013, were filed on or before April 19, 2021, with the IRS Service Center

       in Ogden, Utah;

Vi.    The identification number(s) of Plaintiffs does not differ from that of the

       taxpayer. Plaintiffs are the taxpayer.




                                           20
    Case 1:23-cv-01057-RTH Document 10 Filed 08/30/23 Page 21 of 21




                                 Respectfully submitted,


                                 Ele beth Cr, Si tL.
                                 ELIZABETH A. SMITH
                                 BAKER & HOSTETLER LLP
                                 45 Rockefeller Plaza, 15 Floor
                                 New York, NY 10111
                                 Telephone: (212) 589-4277
                                 Esmith@bakerlaw.com

Dated: July 11, 2023.            Attorney for Plaintiffs




                                  21
